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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION




NATIONAL CHICKEN COUNCIL, et al.,                §
                                                 §
                    Plaintiffs,                  §
                                                 §
                      vs.                        §
                                                 §             No. 4:24-cv-03786
                                                 §
BROOKE ROLLINS, in her official capacity         §
as SECRETARY OF AGRICULTURE, et al.,             §             Judge Andrew Hanen
                                                 §
                    Defendants,                  §
                                                 §
and                                              §
                                                 §
RANCHERS CATTLEMEN ACTION                        §
LEGAL FUND UNITED STOCKGROWERS                   §
OF AMERICA, WESTERN                              §
ORGANIZATION OF RESOURCE                         §
COUNCILS, ALABAMA CONTRACT                       §
POULTRY GROWERS ASSOCIATION,                     §
AND LATINO FARMERS AND                           §
RANCHERS INTERNATIONAL,                          §
                                                 §
                    Proposed Defendant-          §
                    Intervenors                  §
                                                 §



                                  [PROPOSED] ANSWER

TO THE HONORABLE UNITED STATES DISTRICT JUDGE HANEN:

       Comes now Intervenors Ranchers Cattlemen Action Legal Fund United Stockgrowers

Association, Western Organization of Resource Councils, Alabama Contract Poultry Growers


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Association, and Latino Farmers and Ranchers International (collectively, “Farmer and Rancher

Organizations”) and file their answer and affirmative defenses to the Complaint filed by the

National Chicken Council, Meat Institute, Southwest Meat Association, and Texas Broiler

Council. In response to the Complaint, all allegations in the Complaint, including relief sought,

are denied except when specifically admitted. Defendant-Intervenors admit, deny, or otherwise

aver as follows:


                                   PRELIMINARY STATEMENT

      1.         Farmer and Rancher Organizations admit the allegations of paragraph 1.

      2.         Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 2; therefore, they are denied. Farmer and Rancher Organizations deny

that the Inclusive Competition and Market Integrity Under the Packers and Stockyards Act

(“Final Rule”) is unlawful.

      3.         Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 3; therefore, they are denied.

      4.         Farmer and Rancher Organizations deny that AMS acted unlawfully or exceeded

its authority.

      5.         Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 5; therefore, they are denied. Farmer and Rancher Organizations deny

paragraph 5’s characterization of the Final Rule.

      6.         Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 6; therefore, they are denied. Farmer and Rancher Organizations deny

paragraph 6’s allegation that the evidence relied upon in the rulemaking process is insufficient in

any way.


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     7.         Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 7; therefore, they are denied.

                                            PARTIES

     8.         Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 8; therefore, they are denied.

     9.         Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 9; therefore, they are denied.

     10.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 10; therefore, they are denied.

     11.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 3; therefore, they are denied.

     12.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 12; therefore, they are denied.

     13.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 13; therefore, they are denied.

                                JURISDICTION AND VENUE

     14.        Farmer and Rancher Organizations deny that this Court has jurisdiction.

     15.        Farmer and Rancher Organizations deny that venue appropriately lies in this

District and Division.

                                 FACTUAL BACKGROUND

           A.   Statutory Background


     16.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 7; therefore, they are denied.



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     17.        Farmer and Rancher Organizations admit only the contents of the cited statute,

which speaks for itself, and otherwise deny the allegations in paragraph 17.

     18.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 18; therefore, they are denied.

     19.        Farmer and Rancher Organizations admit only that Congress passed the 2008

Farm Bill, and otherwise deny the allegations in paragraph 19.

     20.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 20; therefore, they are denied. Farmer and Rancher Organizations admit

that the cited bill was introduced, and otherwise deny the allegations in paragraph 20.

     21.        Farmer and Rancher Organizations admit only the contents of the cited pages of

the Federal Register, and otherwise deny the allegations in paragraph 21.

     22.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 22; therefore, they are denied.

     23.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 23; therefore, they are denied.

           B.   The Proposed and Final Rules


     24.        Farmer and Rancher Organizations admit the allegations in paragraph 24.

     25.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations in paragraph 25.

     26.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations in paragraph 26.

     27.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations in paragraph 27.



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     28.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations in paragraph 28.

     29.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations including paragraph 29’s

characterization of what the Proposed Rule did or did not include.

     30.        Denied. Paragraph 30 mischaracterizes the Proposed Rule.

     31.        Farmer and Rancher Organizations admit that AMS received public comments on

the Proposed Rule, including from two of the Plaintiff organizations. Farmer and Rancher

Organizations deny any allegation in paragraph 31 as to accuracy, legal merit, or appropriate

weight of those comments.

     32.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register and that AMS issued the Final Rule, and otherwise deny the allegations in

paragraph 32.

     33.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations in paragraph 33 including any

allegations regarding what showings the Final Rule does or does not require.

     34.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations and mischaracterization of the Final

Rule in paragraph 34.

     35.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register, and otherwise deny the allegations in paragraph 35.

     36.        Farmer and Rancher Organizations deny paragraph 36’s mischaracterization of

the Final Rule as well as allegations about what “AMS relied principally on.” Farmer and




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Rancher Organizations also deny that the allegations in paragraph 36 are supported by the

Administrative Record.

     37.        Farmer and Rancher Organizations admit only the contents of the cited section of

the Federal Register in paragraph 37.

           C.   The Final Rule is Unlawful.


     38.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 38; therefore, they are denied.

     39.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 39; therefore, they are denied.

     40.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 40; therefore, they are denied.

     41.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 41; therefore, they are denied.

     42.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 42; therefore, they are denied.

     43.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 43; therefore, they are denied.

     44.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 44; therefore, they are denied.

     45.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 45; therefore, they are denied.

     46.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 46; therefore, they are denied.



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     47.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 47; therefore, they are denied.

     48.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 48; therefore, they are denied.

     49.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 49; therefore, they are denied.

     50.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 50 or lack sufficient knowledge to affirm or deny; therefore, the

allegations in paragraph 50 are denied.

     51.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 51; therefore, they are denied.

     52.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 52; therefore, they are denied.

     53.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 53; therefore, they are denied.

           D.   The Final Rule Causes Concrete and Imminent Harm to Plaintiffs and Their
                Members, As Well As U.S. Consumers.
     54.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 54; therefore, they are denied.

     55.        Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 61 and/or the allegations are unsupported by the

Administrative Record; therefore, they are denied.

     56.        Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 53; therefore, they are denied.



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     57.       Denied. Paragraph 57 inaccurately characterizes the Final Rule.

     58.       Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 58 and/or the allegations are unsupported by the Administrative

Record; therefore, they are denied.

     59.       Farmer and Rancher Organizations are not required to answer the propositions of

law alleged in paragraph 59; therefore, they are denied.

     60.       Denied.

     61.       Denied.

     62.       Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 62; therefore, they are denied.

     63.       Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 63; therefore, they are denied.

     64.       Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 64; therefore, they are denied.

     65.       Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 65; therefore, they are denied.

     66.       Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 66; therefore, they are denied.

     67.       Farmer and Rancher Organizations lack sufficient knowledge or information to

admit or deny the allegations in paragraph 67; therefore, they are denied.

                                         COUNT I
                    (Administrative Procedure Act, 5 U.S.C. § 700, et seq.)

     68.       Farmer and Rancher Organizations incorporate by reference their responses to

each of the proceeding paragraphs.


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     69.         Denied.

     70.         Denied.

     71.         Denied.

     72.         Denied.

     73.         Denied.

     74.         Denied.

     75.         Denied.

     76.         Denied.

                                             PRAYER FOR RELIEF

          The allegations in these paragraphs consist of Plaintiffs’ request for relief, to which no

response is required, but insofar as an answer is deemed required, Farmer and Rancher

Organizations deny that Plaintiffs are entitled to the requested relief or to any relief whatsoever.

                                         AFFIRMATIVE DEFENSES

     1.      This Court lacks jurisdiction to hear Plaintiffs’ claim.

     2.      Plaintiffs have not filed this case in a proper venue.

     3.      Plaintiffs lack standing.

     4.      Plaintiffs’ claim is barred by an applicable statute of limitation.

     5.      Plaintiffs have failed to state a claim for which relief can be granted.

     6.      Plaintiffs’ claim fails because it is unripe.

     7.      The affirmative defenses asserted above are not exhaustive. Farmer and Rancher

             Organizations hereby expressly reserve the right to amend this Answer to bring additional

             defenses over the course of this litigation.




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           WHEREFORE, having answered, Farmer and Rancher Organizations request judgment

or relief against Plaintiffs as follows:

      1.      That Plaintiffs’ claims be dismissed with prejudice;

      2.      That Farmer and Rancher Organizations be awarded their costs and disbursements incurred in

              defending this matter; and

      3.      Such other and further relief as the Court deems just and proper.




Dated: April 1, 2025                       Respectfully submitted,


                                                                      /s/ Tyler Lobdell
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                               CERTIFICATE OF SERVICE

        I hereby certify that on April 1, 2025, I electronically filed the foregoing document
entitled [Proposed] Answer. Copies will be served upon counsel of record, and may be obtained
through, the Court’s CM/ECF system.

                                                                 /s/ Tyler Lobdell
